767 F.2d 920
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.JACK KERSHAW AND MARY N. KERSHAW, PLAINTIFFS-APPELLANTS,v.THE FEDERAL LAND BANK OF LOUISVILLE, THE FEDERAL LAND BANKASSOCIATION OF DICKSON, AND BARNEY REGEN, TRUSTEE,DEFENDANTS-APPELLEES.
    NO. 83-5222
    United States Court of Appeals, Sixth Circuit.
    6/21/85
    
      M.D.Tenn.
      AFFIRMED
      ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE
      BEFORE:  KENNEDY and MILBURN, Circuit Judges; and BERTELSMAN, District Judge.*
      PER CURIAM.
    
    
      1
      Upon consideration of the briefs and record herein, the judgment of the district court is AFFIRMED for the reasons stated in the entered opinion of the district court.
    
    
      
        *
         The Honorable William O. Bertelsman, Judge, United States District Court for the Eastern District of Kentucky, sitting by designation
      
    
    